                   Case 2:16-cv-05881-LAS Document 46 Filed 05/08/17 Page 1 of 1

                                   VULLINGS LAW GROUP, LLC
                                                  Attorneys At Law
                                              3953 RIDGE PIKE
                                                  SUITE 102
                                     COLLEGEVILLE, PENNSYLVANIA 19426
                                                (610) 489-6060
                                             (610) 489-1997 FAX
BRENT F. VULLINGS

Admitted in PA, NJ, NY & DC

bvullings@vullingslaw.com



                                                     May 8, 2017


     VIA ECF
     Honorable Lynne A. Sitarski
     United States District Court
     Eastern District of Pennsylvania
     601 Market Street
     Philadelphia, PA 19106


               Re:          Ashley N. Aumiller v. Trans Union, LLC, et. al.
                            USDC, E.D. Pa., 2:16-cv-05881-LAS


     Your Honor:

            Kindly be advised the above referenced matter has been recently settled as to Defendant,
     Experian Information Solutions, Inc. only. We are waiting for circulation of the necessary
     paperwork in order to finalize the settlement.

               Thank you for your time and consideration of this matter.


                                                       Sincerely,

                                                       /s/ Brent F. Vullings

                                                       Brent F. Vullings, Esq.


     BFV:fc
     cc:    Hayley A. Haldeman, Esq. (via ECF)
            Mohammad A. Ghiasuddin, Esq. (via ECF)
